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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                                No. 1:14-CV-1025 RB/SMV

CITY OF ALBUQUERQUE,

        Defendant,

v.

THE ALBUQUERQUE POLICE
OFFICERS’ ASSOCIATION,

        Intervenor.

     NOTICE OF WITHDRAWAL OF ATTORNEY SUBSTITUTION [Doc. 215]

        Elisabeth Bechtold hereby provides Notice of Withdrawal of Attorney

Substitution [Doc. 215] from the above-captioned matter. Ms. Bechtold is no longer with

the ACLU of New Mexico Foundation and therefore no longer remains as counsel for

amicus party American Civil Liberties Union of New Mexico. Attorney Maria Martinez

Sanchez, ACLU of New Mexico Foundation, remains as counsel for amicus party

American Civil Liberties Union of New Mexico in this case.


                                                   Respectfully submitted,

                                                    /s/ Elisabeth V. Bechtold
                                                   Elisabeth V. Bechtold
                                                   ACLU of NM
                                                   P.O. Box 566
                                                   Albuquerque, NM 87103-0566
                                                   (505) 266-5915
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                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing notice was served upon all

counsel of record via the CM/ECF system on this 6th day of September, 2017.

/s/ Elisabeth V. Bechtold
Elisabeth V. Bechtold




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